Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30   Desc
                Exhibit A-Time and Expense Detail Page 1 of 8




                               EXHIBIT A
                             TIME DETAIL




                                     4
2920452.1
   Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                            Desc
                   Exhibit A-Time and Expense Detail Page 2 of 8




                                                                                                            August 22, 2023

Official Committee of Talc Claimants
In re LTL Management, No 23-12825
United States Bankruptcy Court for the District of New Jersey
                                                                                Invoice Period: 08-01-2023 - 08-11-2023

RE: LTL Management Bankruptcy Official TCC II



Time Details
Date         Professional       Task                                                          Hours        Rate       Amount
08-01-2023   UI                   B190 - Other Contested Matters (excluding                      0.10      485.00        48.50
                                  assumption / rejection motions)
             Discussion with J. Massey and M. Layden re possible motion to dismiss appeal.
08-01-2023   UI                   B190 - Other Contested Matters (excluding                      0.30      485.00       145.50
                                  assumption / rejection motions)
             Discussion with M. Layden re possible motion to dismiss appeal.
08-01-2023   BV                   B190 - Other Contested Matters (excluding                      0.30      775.00       232.50
                                  assumption / rejection motions)
             Conference with J. Massey, M. Layden, and U. Ibrahim re appeals.
08-01-2023   UI                   B190 - Other Contested Matters (excluding                      1.10      485.00       533.50
                                  assumption / rejection motions)
             Reviewing motion to dismiss Memorandum Opinion.
08-01-2023   BV                   B190 - Other Contested Matters (excluding                      0.40      775.00       310.00
                                  assumption / rejection motions)
             Correspondence with local counsel re modifying scheduling order in interlocutory appeals.
08-01-2023   BV                   B190 - Other Contested Matters (excluding                      0.70      775.00       542.50
                                  assumption / rejection motions)
             Revising memo in support of proposed dismissal order.
08-01-2023   BV                   B140 - Relief from Stay / Adequate Protection                  2.70      775.00     2,092.50
                                  Proceedings
             Drafting letters to the district court requesting modification to scheduling order in interlocutory appeals (3:23-
             CV-03935; 3:23-cv-02567; 3:23-cv-02918).
08-01-2023   JSM                  B190 - Other Contested Matters (excluding                      6.70 1,160.00        7,772.00
                                  assumption / rejection motions)
             Drafting portions of appellate brief in response to J&J announcement of appeal.
08-01-2023   JSM                  B195 - Non-Working Travel                                      3.50      580.00     2,030.00
             Travel to Trenton for Aug 2 hearing. [BILLED AT 50%]
08-02-2023   ML                   B190 - Other Contested Matters (excluding                      2.40      500.00     1,200.00
                                  assumption / rejection motions)
             Researching legal issues associated with maintaining the TCC to defend the MTD opinion on appeal.
08-02-2023   UI                   B190 - Other Contested Matters (excluding                      1.80      485.00       873.00
                                  assumption / rejection motions)
             Attendance in hearing before Judge Kaplan re post-dismissal proceedings.

                                                                                                             Page    1 of 7
    Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                      Desc
Date       Professional Exhibit
                          Task A-Time and Expense Detail Page 3 of Hours
                                                                   8     Rate                                    Amount
08-02-2023   ML                  B190 - Other Contested Matters (excluding                     1.80    500.00      900.00
                                 assumption / rejection motions)
             Attending hearing re MTD order.
08-02-2023   ML                  B190 - Other Contested Matters (excluding                     2.10    500.00    1,050.00
                                 assumption / rejection motions)
             Reviewing draft appellees' brief outline regarding motion to dismiss appeal.
08-02-2023   UI                  B190 - Other Contested Matters (excluding                     0.30    485.00      145.50
                                 assumption / rejection motions)
             Meeting with M. Layden re hearing on post-dismissal proceedings.
08-02-2023   UI                  B190 - Other Contested Matters (excluding                     1.90    485.00      921.50
                                 assumption / rejection motions)
             Revising outline of appellee's brief.
08-02-2023   BV                  B190 - Other Contested Matters (excluding                     1.80    775.00    1,395.00
                                 assumption / rejection motions)
             Attending hearing on substantial contribution motions and form of dismissal order for LTL Management LLC,
             Case No. 23-12825 before the Honorable Michael B. Kaplan.
08-02-2023   BV                  B190 - Other Contested Matters (excluding                     1.90    775.00    1,472.50
                                 assumption / rejection motions)
             Revising/supplementing draft appellee response brief drafted by J. Massey.
08-02-2023   BV                  B190 - Other Contested Matters (excluding                     0.50    775.00      387.50
                                 assumption / rejection motions)
             Conference with J. Massey, U. Ibrahim, and M. Layden re legal research for dismissal order (including TCC's
             continued existence during appeals, provision preventing bankruptcy re-filing within 180 days) and for draft
             appellee response brief in support of the dismissal order.
08-02-2023   ML                  B190 - Other Contested Matters (excluding                     0.50    500.00      250.00
                                 assumption / rejection motions)
             Meeting with J. Massey, B. Vallacher, and U. Ibrahim regarding legal issues associated with maintaining the
             TCC to defend the MTD opinion on appeal.
08-02-2023   ML                  B190 - Other Contested Matters (excluding                     0.30    500.00      150.00
                                 assumption / rejection motions)
             Meeting with B. Vallacher and U. Ibrahim regarding legal definition of immediacy for MTD appeal.
08-02-2023   UI                  B190 - Other Contested Matters (excluding                     0.80    485.00      388.00
                                 assumption / rejection motions)
             Meeting with B. Vallacher and M. Layden re research assignments for motion to dismiss appeal.
08-02-2023   UI                  B190 - Other Contested Matters (excluding                     0.50    485.00      242.50
                                 assumption / rejection motions)
             Research re whether committee has been appointed for purposes of an appeal.
08-02-2023   BV                  B190 - Other Contested Matters (excluding                     0.30    775.00      232.50
                                 assumption / rejection motions)
             Conference with U. Ibrahim, and M. Layden re legal research for dismissal order (including TCC's continued
             existence during appeals, provision preventing bankruptcy re-filing within 180 days) and for draft appellee
             response brief in support of the dismissal order.
08-02-2023   BV                  B190 - Other Contested Matters (excluding                     0.60    775.00      465.00
                                 assumption / rejection motions)
             Conducting legal research re prohibitions on re-filing petitions for bankruptcy.
08-02-2023   RSM                 B190 - Other Contested Matters (excluding                     0.20    860.00      172.00
                                 assumption / rejection motions)
             Correspondence with co-counsel re dismissal issues.
08-02-2023   JSM                 B190 - Other Contested Matters (excluding                     5.50 1,160.00     6,380.00
                                 assumption / rejection motions)
             Drafting portions of appellate brief in response to J&J announcement of appeal.
08-02-2023   JSM                 B110 - Case Administration                                    2.00 1,160.00     2,320.00
             Attending omnibus hearing in bankruptcy court.
08-02-2023   JSM                 B190 - Other Contested Matters (excluding                     0.60 1,160.00       696.00
                                 assumption / rejection motions)
             Meeting with TCC representatives and counsel in connection with omnibus hearing in bankruptcy court to
             discuss legal strategy and next steps.


                                                                                                        Page   2 of 7
    Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                        Desc
Date       Professional Exhibit
                          Task A-Time and Expense Detail Page 4 of Hours
                                                                   8     Rate                                       Amount
08-02-2023   JSM                B190 - Other Contested Matters (excluding                      0.50 1,160.00          580.00
                                assumption / rejection motions)
             Zoom with Massey & Gail team to discuss terms of dismissal order.
08-02-2023   JSM                B190 - Other Contested Matters (excluding                      0.40 1,160.00          464.00
                                assumption / rejection motions)
             Email communication with TCC counsel re draft opposition to expected motion for stay.
08-02-2023   JSM                B190 - Other Contested Matters (excluding                      0.40 1,160.00          464.00
                                assumption / rejection motions)
             Email communication with TCC counsel re proposed form of order.
08-02-2023   JSM                B190 - Other Contested Matters (excluding                      0.50 1,160.00          580.00
                                assumption / rejection motions)
             Reviewing research re proposed form of order regarding ban on refiling and TCC's continued existence.
08-03-2023   ML                 B190 - Other Contested Matters (excluding                      2.70     500.00      1,350.00
                                assumption / rejection motions)
             Preparing section on Third Circuit's immediacy requirement for showing financial distress for MTD appeal brief.
08-03-2023   BV                 B190 - Other Contested Matters (excluding                      0.90     775.00        697.50
                                assumption / rejection motions)
             Conference with committee members, co-counsel, and representatives regarding form of dismissal order and
             next steps.
08-03-2023   ML                 B190 - Other Contested Matters (excluding                      0.90     500.00        450.00
                                assumption / rejection motions)
             Attending weekly committee meeting discussing MTD order.
08-03-2023   UI                 B190 - Other Contested Matters (excluding                      2.30     485.00      1,115.50
                                assumption / rejection motions)
             Meeting with co-counsel and clients to discuss forthcoming legal strategy on motion to dismiss appeal.
08-03-2023   UI                 B190 - Other Contested Matters (excluding                               485.00 No Charge
                                assumption / rejection motions)
             Discussion with M. Layden re stay pending appeal.
08-03-2023   ML                 B190 - Other Contested Matters (excluding                      0.50     500.00        250.00
                                assumption / rejection motions)
             Discussion with U. Ibrahim regarding legal issues associated with a stay of the MTD order pending appeal.
08-03-2023   BV                 B190 - Other Contested Matters (excluding                      0.30     775.00        232.50
                                assumption / rejection motions)
             Conference with co-counsel regarding memorandum in support of dismissal order and opposition to
             anticipated motion to stay dismissal pending appeal.
08-03-2023   UI                 B190 - Other Contested Matters (excluding                      0.20     485.00         97.00
                                assumption / rejection motions)
             Committee with co-counsel to discuss forthcoming legal strategy on possible opposition to motion to stay.
08-03-2023   UI                 B190 - Other Contested Matters (excluding                      0.20     485.00         97.00
                                assumption / rejection motions)
             Reviewing M. Winograd's draft TCC Memorandum in Support of the Dismissal Order.
08-03-2023   UI                 B190 - Other Contested Matters (excluding                      2.60     485.00      1,261.00
                                assumption / rejection motions)
             Research re whether committee has been appointed for purposes of an appeal.
08-03-2023   RSM                B110 - Case Administration                                     0.10     860.00         86.00
             Reviewed S. Grimm summary of recent case developments and upcoming case deadlines.
08-03-2023   RSM                B110 - Case Administration                                     0.10     860.00         86.00
             Reviewed portion of August 2 court hearing transcript.
08-03-2023   RSM                B190 - Other Contested Matters (excluding                      0.70     860.00        602.00
                                assumption / rejection motions)
             Conference with co-counsel re dismissal issues and appellate issues.
08-03-2023   ML                 B190 - Other Contested Matters (excluding                      3.70     500.00      1,850.00
                                assumption / rejection motions)
             Researching legal issues associated with maintaining the TCC to defend the MTD opinion on appeal.
08-03-2023   BV                 B190 - Other Contested Matters (excluding                      6.00     775.00      4,650.00
                                assumption / rejection motions)
             Conducting legal research re prohibitions on re-filing petitions for bankruptcy.
                                                                                                          Page    3 of 7
    Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                          Desc
Date       Professional Exhibit
                          Task A-Time and Expense Detail Page 5 of Hours
                                                                   8     Rate                                         Amount
08-03-2023   JSM                 B195 - Non-Working Travel                                       3.30     580.00     1,914.00
             Travel from Trenton for Aug 2 hearing. [BILLED AT 50%]
08-03-2023   JSM                 B110 - Case Administration                                      1.00 1,160.00       1,160.00
             Zoom with TCC members and representatives re legal strategy and next steps.
08-03-2023   JSM                 B190 - Other Contested Matters (excluding                       0.30 1,160.00         348.00
                                 assumption / rejection motions)
             Zoom with TCC counsel to discuss dismissal order.
08-04-2023   JSM                 B190 - Other Contested Matters (excluding                       2.30 1,160.00       2,668.00
                                 assumption / rejection motions)
             Revising draft opposition to expected stay motion by debtor.
08-04-2023   JSM                 B190 - Other Contested Matters (excluding                       0.60 1,160.00         696.00
                                 assumption / rejection motions)
             Revising letter brief in support of TCC proposed order.
08-04-2023   UI                  B190 - Other Contested Matters (excluding                       2.40     485.00     1,164.00
                                 assumption / rejection motions)
             Revise draft of opposition of motion to stay circulated by J. Lamken.
08-04-2023   BV                  B190 - Other Contested Matters (excluding                       2.60     775.00     2,015.00
                                 assumption / rejection motions)
             Revising draft opposition to motion to stay dismissal order.
08-04-2023   RSM                 B190 - Other Contested Matters (excluding                       0.10     860.00         86.00
                                 assumption / rejection motions)
             Reviewed draft letter submission re dismissal issues.
08-04-2023   UI                  B190 - Other Contested Matters (excluding                       3.60     485.00     1,746.00
                                 assumption / rejection motions)
             Research re whether committee has been appointed for purposes of an appeal.
08-04-2023   BV                  B190 - Other Contested Matters (excluding                       1.80     775.00     1,395.00
                                 assumption / rejection motions)
             Revising letter to Judge Kaplan re dismissal order.
08-04-2023   JSM                 B190 - Other Contested Matters (excluding                       0.50 1,160.00         580.00
                                 assumption / rejection motions)
             Reviewing research re proposed form of order regarding ban on refiling and TCC's continued existence.
08-05-2023   JSM                 B190 - Other Contested Matters (excluding                       1.20 1,160.00       1,392.00
                                 assumption / rejection motions)
             Revising draft opposition to expected stay motion by debtor.
08-06-2023   JSM                 B190 - Other Contested Matters (excluding                       0.30 1,160.00         348.00
                                 assumption / rejection motions)
             Reviewing draft letter brief to accompany proposed TCC order.
08-06-2023   JSM                 B190 - Other Contested Matters (excluding                       0.30 1,160.00         348.00
                                 assumption / rejection motions)
             Email communication with TCC counsel re dismissal order.
08-07-2023   JSM                 B190 - Other Contested Matters (excluding                       0.30 1,160.00         348.00
                                 assumption / rejection motions)
             Zoom with TCC counsel re proposed order.
08-07-2023   JSM                 B190 - Other Contested Matters (excluding                       0.30 1,160.00         348.00
                                 assumption / rejection motions)
             Reviewing proposed TCC order.
08-07-2023   JSM                 B190 - Other Contested Matters (excluding                       0.40 1,160.00         464.00
                                 assumption / rejection motions)
             Reviewing letter brief in connection with proposed TCC order.
08-07-2023   JSM                 B190 - Other Contested Matters (excluding                       0.30 1,160.00         348.00
                                 assumption / rejection motions)
             Revising letter brief in connection with proposed TCC order.
08-07-2023   ML                  B190 - Other Contested Matters (excluding                       3.30     500.00     1,650.00
                                 assumption / rejection motions)
             Analyzing draft motion in opposition to Debtor's motion to stay the court's order dismissing the bankruptcy.
08-07-2023   ML                  B190 - Other Contested Matters (excluding                       2.10     500.00     1,050.00

                                                                                                            Page    4 of 7
    Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                           Desc
Date       Professional Exhibit
                          Task A-Time and Expense Detail Page 6 of Hours
                                                                   8     Rate                                         Amount
                                assumption / rejection motions)
             Preparing exhibits for draft motion in opposition to Debtor's motion to stay the court's order dismissing the
             bankruptcy.
08-07-2023   ML                 B190 - Other Contested Matters (excluding                       0.80      500.00         400.00
                                assumption / rejection motions)
             Discussion with U. Ibrahim re legal issues associate with opposition to potential motion to stay dismissal.
08-07-2023   UI                 B190 - Other Contested Matters (excluding                       0.80      485.00         388.00
                                assumption / rejection motions)
             Meeting with M. Layden re opposition to potential motion to stay dismissal.
08-07-2023   UI                 B190 - Other Contested Matters (excluding                       0.10      485.00          48.50
                                assumption / rejection motions)
             Drafting email communication to J. Massey re re opposition to potential motion to stay dismissal.
08-07-2023   UI                 B190 - Other Contested Matters (excluding                       0.20      485.00          97.00
                                assumption / rejection motions)
             Drafting email communication to R. Aguirre re opposition to potential motion to stay dismissal.
08-07-2023   UI                 B190 - Other Contested Matters (excluding                       0.20      485.00          97.00
                                assumption / rejection motions)
             Drafting email communication to local counsel re opposition to potential motion to stay dismissal.
08-07-2023   UI                 B190 - Other Contested Matters (excluding                       2.20      485.00     1,067.00
                                assumption / rejection motions)
             Revise draft of opposition of motion to stay circulated by J. Lamken.
08-07-2023   BV                 B140 - Relief from Stay / Adequate Protection                   0.10      775.00          77.50
                                Proceedings
             Analyzing protective order filed re Kenvue discovery.
08-07-2023   BV                 B190 - Other Contested Matters (excluding                       0.70      775.00         542.50
                                assumption / rejection motions)
             Suggesting revisions to letter in support of proposed dismissal order.
08-07-2023   BV                 B190 - Other Contested Matters (excluding                       0.40      775.00         310.00
                                assumption / rejection motions)
             Reviewing correspondence from co-counsel for developments to craft potential responses.
08-07-2023   BV                 B190 - Other Contested Matters (excluding                       1.90      775.00     1,472.50
                                assumption / rejection motions)
             Conducting legal research re moving to hold the pending PI and FCR appeals in abeyance pending potential
             appeal of dismissal order.
08-07-2023   BV                 B190 - Other Contested Matters (excluding                       0.50      775.00         387.50
                                assumption / rejection motions)
             Conference with S. Beville, J. Massey, J. Lamken, A. Silverstein, and M. Winograd re proposed dismissal
             order.
08-07-2023   BV                 B190 - Other Contested Matters (excluding                       1.90      775.00     1,472.50
                                assumption / rejection motions)
             Supplementing the letter in support of our proposed dismissal order.
08-08-2023   ML                 B190 - Other Contested Matters (excluding                       1.30      500.00         650.00
                                assumption / rejection motions)
             Research regarding the power of the bankruptcy court to issue a stay of its dismissal order after that order has
             already been issued.
08-08-2023   BV                 B190 - Other Contested Matters (excluding                       0.90      775.00         697.50
                                assumption / rejection motions)
             Reviewing proposed dismissal orders from Debtor and other parties along with letter-briefs in support of those
             proposed orders.
08-08-2023   UI                 B190 - Other Contested Matters (excluding                       0.60      485.00         291.00
                                assumption / rejection motions)
             Research re the viability of a stay of the case post-dismissal.
08-08-2023   RSM                B190 - Other Contested Matters (excluding                       0.20      860.00         172.00
                                assumption / rejection motions)
             Correspondence with co-counsel re dismissal order submissions.
08-09-2023   ML                 B190 - Other Contested Matters (excluding                       2.10      500.00     1,050.00
                                assumption / rejection motions)

                                                                                                             Page    5 of 7
    Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                           Desc
Date       Professional Exhibit
                          Task A-Time and Expense Detail Page 7 of Hours
                                                                   8     Rate                                          Amount
             Researching legal issues regarding the third circuit's good faith standard for draft appellee's brief to motion to
             dismiss.
08-09-2023   JSM                  B190 - Other Contested Matters (excluding                        0.40 1,160.00         464.00
                                  assumption / rejection motions)
             Reviewing LTL supplemental letter in connection with dismissal order.
08-09-2023   JSM                  B190 - Other Contested Matters (excluding                        0.80 1,160.00         928.00
                                  assumption / rejection motions)
             Drafting response to LTL supplemental letter in connection with dismissal order.
08-09-2023   JSM                  B190 - Other Contested Matters (excluding                        0.30 1,160.00         348.00
                                  assumption / rejection motions)
             Email communication with TCC counsel re LTL supplemental letter in connection with dismissal order.
08-09-2023   ML                   B190 - Other Contested Matters (excluding                        5.60    500.00      2,800.00
                                  assumption / rejection motions)
             Researching legal issues associated with the issuance of a stay of the order dismissing the bankruptcy after
             that order has been entered and taken effect.
08-09-2023   UI                   B190 - Other Contested Matters (excluding                        3.20    485.00      1,552.00
                                  assumption / rejection motions)
             Research re the viability of a stay of the case post-dismissal.
08-09-2023   UI                   B190 - Other Contested Matters (excluding                        0.90    485.00        436.50
                                  assumption / rejection motions)
             Meeting with B. Vallacher, M. Layden, J. Lamken, and M. Winograd re possible further actions by LTL.
08-09-2023   BV                   B190 - Other Contested Matters (excluding                        0.90    775.00        697.50
                                  assumption / rejection motions)
             Conference with J. Lamken, M. Winograd, and R. Hashem re fiduciary duty and fraudulent transfer research.
08-09-2023   UI                   B190 - Other Contested Matters (excluding                        0.80    485.00        388.00
                                  assumption / rejection motions)
             Meeting with committee and co-counsel to discuss forthcoming legal strategy on possible opposition to motion
             to stay.
08-09-2023   BV                   B190 - Other Contested Matters (excluding                        0.70    775.00        542.50
                                  assumption / rejection motions)
             Conference with committee members, co-counsel, and representatives regarding post dismissal topics,
             including privilege, destruction of documents, substantial contribution, and the TCC website.
08-09-2023   ML                   B190 - Other Contested Matters (excluding                        0.80    500.00        400.00
                                  assumption / rejection motions)
             Attending weekly committee meeting.
08-09-2023   ML                   B190 - Other Contested Matters (excluding                        0.70    500.00        350.00
                                  assumption / rejection motions)
             Conference with B. Vallacher, U. Ibrahim, J. Lamken, M. Winograd, and R. Hashem regarding fraudulent
             transfer research.
08-09-2023   ML                   B190 - Other Contested Matters (excluding                        0.80    500.00        400.00
                                  assumption / rejection motions)
             Preparing draft appellee's brief outline regarding legal standard for good faith that should apply.
08-09-2023   BV                   B190 - Other Contested Matters (excluding                        0.80    775.00        620.00
                                  assumption / rejection motions)
             Drafting language for inclusion in reply to debtor's "supplemental" brief letter.
08-10-2023   UI                   L520 - Appellate Briefs                                          1.60    485.00        776.00
             Revising draft appellee brief.
08-10-2023   UI                   L520 - Appellate Briefs                                          0.40    485.00        194.00
             Meeting with M. Layden re preparation of appellate brief for the motion to dismiss.
08-10-2023   ML                   L520 - Appellate Briefs                                          4.10    500.00      2,050.00
             Preparing legal argument regarding good faith standard for draft appellee's brief for motion to dismiss appeal.
08-10-2023   BV                   B110 - Case Administration                                       0.90    775.00        697.50
             Reviewing and revising substantial contribution motion.
08-10-2023   BV                   L520 - Appellate Briefs                                          2.80    775.00      2,170.00
             Drafting portion of appellate brief in support of the dismissal opinion.
08-10-2023   JSM                  B190 - Other Contested Matters (excluding                        3.30 1,160.00       3,828.00
                                  assumption / rejection motions)
                                                                                                             Page    6 of 7
    Case 23-12825-MBK Doc 1268-2 Filed 08/25/23 Entered 08/25/23 12:25:30                                             Desc
Date       Professional Exhibit
                          Task A-Time and Expense Detail Page 8 of Hours
                                                                   8     Rate                                    Amount
               Drafting outline of appellate brief in response to J&J announcement of appeal.
08-11-2023     JSM                  B190 - Other Contested Matters (excluding                  2.60 1,160.00     3,016.00
                                    assumption / rejection motions)
               Drafting outline of appellate brief in response to J&J announcement of appeal.
08-11-2023     JSM                  B190 - Other Contested Matters (excluding                  0.30 1,160.00        348.00
                                    assumption / rejection motions)
               Email communication with TCC counsel re dismissal order.
08-11-2023     JSM                  B190 - Other Contested Matters (excluding                  0.30 1,160.00        348.00
                                    assumption / rejection motions)
               Reviewing bankruptcy court dismissal order.
08-11-2023     BV                   L520 - Appellate Briefs                                    0.20   775.00        155.00
               Responding to strategy questions from J. Massey re appellate brief.
08-11-2023     RSM                  B190 - Other Contested Matters (excluding                  0.20   860.00        172.00
                                    assumption / rejection motions)
               Correspondence with co-counsel and committee representatives re LTL supplemental brief re dismissal issues.
08-11-2023     RSM                  B110 - Case Administration                                 0.20   860.00        172.00
               Reviewed analysis of end of case issues.
08-11-2023     RSM                  B160 - Fee/Employment Application                          0.10   860.00         86.00
               Correspondence with colleagues re July fee statement preparation.
08-11-2023     RSM                  B160 - Fee/Employment Application                          1.40   860.00     1,204.00
               Worked on monthly fee statement for July services.
                                                                                              Total            102,692.00

Time Summary
Professional                                                                                            Hours           Amount
Bret Vallacher                                                                                          33.50          25,962.50
Jonathan Massey                                                                                         39.20          41,528.00
Matthew Layden                                                                                          36.50          18,250.00
Rachel Morse                                                                                             3.30           2,838.00
Usama Ibrahim                                                                                           29.10          14,113.50
                                                                                                Total                 102,692.00

Expenses
Expense                        Description                                                                              Amount
E110 - Out of town travel      JSM - Mileage reimbursement for trip to Trenton, NJ for 8/2 hearing.                      121.18

E110 - Out of town travel      JSM - Lodging (2 nights) while in Trenton, NJ for 8/2 hearing.                            424.26

E110 - Out of town travel      JSM - Mileage reimbursement for return trip from Trenton, NJ for 8/2 hearing.             121.18

                                                                                           Total Expenses                666.62


                                                                                     Total for this Invoice           103,358.62




                                                                                                               Page    7 of 7
